
PER CURIAM.
A final judgment of divorce was entered in favor of appellee herein, granting inter alia, custody of children and making provision for child support and alimony, as well as some property division. The court retained jurisdiction by itse of the following language: “This court specifically reserves jurisdiction of this entire matter”. There was a post-decretal order based on a rule to show cause, in which the court directed both parties to do certain things with reference to property (which property had been dealt with in the final decree).
This appeal is from the final decree as well as an interlocutory appeal from the post-decretal order.
*305It appears to this court that the questions raised by the parties in the appeal from the final judgment as well as in the interlocutory appeal, are more factual than otherwise, and it further appearing to us from the record in both cases that the trial court acted within his duly authorized discretion based upon competent evidence before him to support his findings and conclusions, we fail to find any error.
Therefore the orders or judgments appealed from are affirmed.
JOHNSON, C. J., and RAWLS and SPECTOR, JJ., concur.
